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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION



 UNITED STATES OF AMERICA

                     V.                                     CR:4:21-113


 CHARLES WALKER


                                 PLEA AGREEMENT


       Defendant Charles Walker, represented by his counsel Katie Brewington, and

the United States of America, represented by Assistant United States Attorney Chris

Howard, have reached a plea agreement in this case. The terms and conditions of

that agreement are as follows.

1.     Guilty Plea


       Defendant agrees to enter a plea of guilty to Count One of the Indictment,

which charges a violation of 18 U.S.C. § 922(g)(1).

2.     Elements and Factual Basis


       The elements necessary to prove the offense charged in Count One are (1)that

Defendant knowingly possessed a firearm in or affecting commerce; and (2) that,

before possessing the firearm. Defendant knew he had been convicted of a felony, that

is, a crime punishable by imprisonment for more than one year.

       Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts, which satisfy each of the offense's required elements:

On or about October 30, 2020, in Chatham County, within the Southern District of

Georgia, Defendant, knowing he had been convicted of a crime punishable by
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imprisonment for a term exceeding one year, did knowingly possess, in and affecting

commerce, a firearm, to wit, a Ruger, Model P94,.40 caliber pistol, which had been

transported in interstate and foreign commerce.

3.     Possible Sentence

       Defendant's guilty plea will subject him to the following maximum possible

sentence: 10 years' imprisonment, 3 years' supervised release, a $250,000 fine, such

restitution as may be ordered by the Court, and forfeiture of all forfeitable assets.

The Court additionally must impose a $100 special assessment per count of

conviction.


4.     No Promised Sentence


       No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.     Court's Use of Sentencing Guidehnes


       The Court is obfigated to use the United States Sentencing Guidelines to

calculate the apphcable guideline range for Defendant's offense. The Sentencing

Guidehnes are advisory; the Court is not required to impose a sentence within the

range those Guidehnes suggest. The Court will consider that range, possible

departures under the Sentencing Guidehnes, and other sentencing factors under 18
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U.S.C. § 3553(a), in determining the Defendant's sentence.           The Sentencing

Guidehnes are based on^of Defendant's relevant conduct, pursuant to U.S.S.G. §

IB 1.3, not just the conduct underl5dng the particular Count or Counts to which

Defendant is pleading guilty.

6.     Agreements Regarding Sentencing Guidelines

       a.    Use of Information

       Nothing in this agreement precludes the government from providing full and

accurate information to the Court and U.S. Probation Office for use in calculating the

applicable Sentencing Guidelines range.

       b.    Acceptance of Resnonsibilitv


       If the Court determines that Defendant qualifies for an adjustment under

U.S.S.G. § 3E 1.1(a), and the offense level prior to operation of § 3E 1.1(a) is 16 or

greater, the government will move for an additional one-level reduction in offense

level pursuant to Section 3E1.1(b) based on Defendant's timely notification of his

intention to enter a guilty plea.

       c.    Inapplicability of Cross Reference in ^ 2K2.1(c)


       The government and Defendant agree to recommend to the U.S. Probation

Office and the Court at sentencing that the cross reference found in Section 2K2.1(c)

ought not be applied to this case.

7.     Dismissal of Other Counts


       At sentencing, the government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant.
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8.     Forfeiture

       a.    Defendant agrees to forfeit his interest in any firearms and ammunition

involved or used in the knowing commission of the offense to which he has agreed to

plead guilty, specifically a Ruger, Model P94, .40 caliber pistol, S/N 341-39675

(collectively, the "Subject Property").

       b.    Defendant waives and abandons all right, title, and interest in the

Subject Property. Defendant agrees to take all steps requested by the government to

facilitate transfer of title of the Subject Property to the government. Defendant

further agrees not to file any claim, answer, or petition for remission or mitigation in

any administrative or judicial proceeding pertaining to the Subject Property. If any

such document has already been filed, Defendant hereby withdraws that fihng.

       c.    Defendant agrees to hold the government and its agents and employees

harmless from any claims made in connection with the seizure, forfeiture, or disposal

of property connected to this case.        Defendant further agrees to waive the

requirements of the Federal Rules of Criminal Procedure 32.2 and 43(a) regarding

notice of the forfeiture in the charging instrument, announcement of the forfeiture at

sentencing, and incorporation of the forfeiture in the judgment.

       d.    Defendant waives and abandons his interest in any other property that

may have been seized in connection with this case. Additionally, Defendant waives

any and all challenges on any grounds to the seizure, forfeiture, and disposal of any

property seized in connection with this case. Defendant specifically agrees to waive
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any challenges arising under the Double Jeopardy Clause of the Fifth Amendment

and the Excessive Fines Clause of the Eighth Amendment.

9.     Financial Obhgations and Agreements


       a.    Restitution


       The amount of restitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not hmited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment

is intended to and will survive Defendant, notwithstanding the abatement of any

underlying criminal conviction.

       b.    Special Assessment


       Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

10.    Waivers


       a.    FOIA and Privacv Act Waiver


       Defendant waives all rights, whether asserted directly or through a

representative, to request or receive firom any department or agency of the United

States any record pertaining to the investigation or prosecution ofthis case imder the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.

       b.    Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver
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        Rule 11(f) of the Federal Rules of Criminal Procedure and Ride 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, aU of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

11.     Defendant's Rights

        Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

12.     Satisfaction with Counsel


        Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant beheves that his attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

13.     Breach of Plea Agreement
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       IfDefendant fails to plead guilty, withdraws or attempts to withdraw his guilty

plea, commits any new criminal conduct following the execution of this agreement, or

otherwise breaches this agreement, the government is released from all of its

agreements regarding Defendant's sentence,including any agreements regarding the

calculation of Defendant's advisory Sentencing Guidelines.         In addition, the

government may declare the plea agreement null and void, reinstate any counts that

may have been dismissed pursuant to the plea agreement, and/or file new charges

against Defendant that might otherwise be barred by this plea agreement. Defendant

waives any statute-of-Hmitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.

14.    Entire Agreement


       This agreement contains the entire agreement between the government and

Defendant.

                                       DAVID H. ESTES
                                       ACTING UNITED STATES ATTORNEY



Date                                   Karl 1. Knoche
                                       Chief, Criminal Division




Date                                   Chris Hovyard
                                       Assistant United States Attorney
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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby
stipulate that the factual basis set out therein is true and accurate in every respect.



Date                                    Defendant Charles Walker


       I have fully explained to Defendant aU of his rights, and I have carefully

reviewed each and every part ofthis agreement with him. I beheve that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, inteUigent, and voluntary one.




Date                                   Defendant's Attorney, Katie Brewington




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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
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                    V.                                     CR: 421-113


 CHARLES WALKER



                                      ORDER


      The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change his plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

      ORDERED that the plea of guilty hy defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



             This 2^^ day of                          2021.




                                HON. WILLIAM T. MOORE,JR.
                                JUDGE, UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF GEORGIA
